              Case 2:10-cr-00427-KJM Document 209 Filed 09/24/13 Page 1 of 3


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   TODD D. LERAS
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2918
 5
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )
                                   )           2:10-cr-00427 KJM
12                  Plaintiff,     )
                                   )           GOVERNMENT MOTION TO DISMISS
13             v.                  )
                                   )
14   WINNIE CHEN,                  )
                                   )
15                  Defendant.     )
     ______________________________)
16
17
18           Plaintiff United States of America, by and through United
19   States Attorney Benjamin B. Wagner and Assistant United States
20   Attorney Todd D. Leras, hereby moves, consistent with the Principles
21   of Federal Prosecution, to dismiss without prejudice under Rule
22   48(a) of the Federal Rules of Criminal Procedure the charge in the
23   Indictment against defendant Winnie Chen.           Based on information
24   obtained during post-Indictment investigation, including matters not
25   available to the government until after formal charging had
26   occurred, the government believes that it is in the interest
27   / / /
28   / / /
             Case 2:10-cr-00427-KJM Document 209 Filed 09/24/13 Page 2 of 3


 1   of justice to dismiss the charge pending against defendant Winnie
 2   Chen.   Erin Radekin, the attorney for Defendant Winnie Chen, has no
 3   opposition to the request.
 4                                               Respectfully submitted,
 5
                                                 BENJAMIN B. WAGNER
 6                                               United States Attorney
 7   Dated: September 19, 2013                      /s/ Todd D. Leras
                                                 TODD D. LERAS
 8                                               Assistant U.S. Attorney
                                                 Attorney for Plaintiff
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                             2
              Case 2:10-cr-00427-KJM Document 209 Filed 09/24/13 Page 3 of 3


 1                                       O R D E R
 2        Based on the government’s motion, it is hereby ordered that the
 3   charge in the Indictment in this matter as to defendant Winnie Chen
 4   is dismissed without prejudice.
 5   DATED:     September 23, 2013.
 6
 7
 8                                              UNITED STATES DISTRICT JUDGE

 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
